      Case 1:18-po-08041-MKD      ECF No. 107   filed 05/05/21   PageID.253 Page 1 of 2




 1

 2

 3
                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
 4                                                                   EASTERN DISTRICT OF WASHINGTON



                                                                     May 05, 2021
 5                        UNITED STATES DISTRICT COURT
                                                                          SEAN F. MCAVOY, CLERK



 6                      EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                      No. 1:18-PO-08041-MKD

 8                       Plaintiff,                 ORDER GRANTING
                                                    DEFENDANT’S MOTION TO
 9   vs.                                            MODIFY CONDITIONS OF
                                                    RELEASE AND GRANTING
10   BRANDON J DISCH,                               DEFENDANT’S MOTION TO
                                                    EXPEDITE
11                       Defendant.
                                                    ECF Nos. 105, 106
12

13         Before the Court are Defendant’s Unopposed Motion to Modify

14   Conditions of Release (ECF No. 105) and related Motion to Expedite (ECF No.

15   106). Neither the United States, nor the United States Probation/Pretrial

16   Services Office oppose the Motion. Specifically, Defendant requests that the

17   Court allow him to spend Mother’s Day weekend at his mother’s house in Pasco,

18   WA, and to modify Special Condition 2 to permit him to reside there from May

19   7, 2021 to May 10, 2021 (ECF No. 105). For the reasons set forth in the Motion;

20


     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE AND GRANTING DEFENDANT’S MOTION TO EXPEDITE - 1
      Case 1:18-po-08041-MKD     ECF No. 107    filed 05/05/21   PageID.254 Page 2 of 2




 1        IT IS HEREBY ORDERED:

 2        1.     Defendant’s Motion to Expedite (ECF No. 106) is GRANTED.

 3        2.     Defendant’s Unopposed Motion to Modify Conditions of Release

 4   (ECF No. 105) is GRANTED.

 5         3.    Special Condition No. 2 (ECF No. 103), which mandated

 6   Defendant participate in a program of GPS home confinement, shall be

 7   MODIFIED for the specified time period to allow Defendant to reside with his

 8   mother.

 9         4.    All other conditions of release shall remain in effect.

10         DATED May 5, 2021

11                               s/Mary K. Dimke
                                 MARY K. DIMKE
12                      UNITED STATES MAGISTRATE JUDGE

13

14

15

16

17

18

19

20


     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE AND GRANTING DEFENDANT’S MOTION TO EXPEDITE - 2
